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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
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                                    March 20, 2024

               2023-1917 - QuantifiCare S.A. v. Canfield Scientific, Inc.

                     NOTICE OF NON-COMPLIANCE
The document Appendix submitted by QuantifiCare S.A. is not in compliance with
the rules of this court. Within five business days from the date of this notice, please
submit a corrected version of this document correcting the following:

   •   A single filing (including individual volumes of that filing, supporting
       attachments, or exhibits) submitted through the court's electronic filing
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                                         ***

 If applicable, the deadline for the next or responsive submission is computed from
   the original submission date, not the submission date of the corrected version.

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 A party's failure to timely file a corrected document curing all defects identified on
 this notice may result in the original document being stricken from the docket. An
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appellant's failure to cure a defective filing may also result in the dismissal of the
                      appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: J. Phillips, Deputy Clerk
